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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

CODY FISCHER, On Behalf of Himself                  )
and All Others Similarly Situated,                  )   COLLECTIVE ACTION
                                                    )
       Plaintiff,                                   )   CASE NO. ____________
                                                    )
v.                                                  )   JUDGE _______________
                                                    )
JWB PROPERTIES LLC d/b/a LOCAL                      )   JURY DEMAND
GASTROPUB and JEFFREY JOHNSON,                      )
                                                    )
       Defendants.                                  )

                           COLLECTIVE ACTION COMPLAINT

       1.      Plaintiff Cody Fischer (“Plaintiff”) brings this action against Defendants JWB

Properties LLC d/b/a Local Gastropub and Jeffrey Johnson (“Defendants”) to recover unpaid

minimum and overtime wages, liquidated damages, attorneys’ fees, and costs under the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. Plaintiff asserts these FLSA claims as a

collective action on behalf of himself and all similarly situated individuals, pursuant to Section

16(b) of the FLSA, 29 U.S.C. § 216(b).

       2.      Defendants operate as joint employers and as a single enterprise, as contemplated

by the FLSA.

       3.      Defendants have owned and operated two Memphis, Tennessee gastropubs and

employed dozens of servers and bartenders who were paid a tipped hourly rate lower than the

minimum wage of $7.25 per hour during the statutory time period covered by this lawsuit. Plaintiff

asserts that Defendants improperly pay this lower tipped hourly rate to servers and bartenders by:

(1) requiring these employees to spend more than 20% of each shift performing non-tip-producing

work tasks at the lower tipped hourly rate; (2) requiring these employees to use tips to pay



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customer bills as a result of customers failing to pay their bills; and (3) improperly requiring tipped

employees to share tips with non-tipped employees.

                                I. JURISDICTION AND VENUE

       4.      This Court has jurisdiction over Plaintiff’s claims under the FLSA because they are

brought pursuant to 29 U.S.C. § 216(b) and because they raise a federal question pursuant to

28 U.S.C. § 1331.

       5.      Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendants have conducted business in this judicial district during the statutory time period

covered by this lawsuit and because the claims arose in this judicial district.

                                            II. PARTIES

A.     Plaintiff

       6.      Plaintiff Cody Fischer is over the age of nineteen (19) and is a resident of Memphis,

Shelby County, Tennessee. Plaintiff Fischer was employed by Defendants as a bartender at their

from approximately May 2017 until June 2020.

B.     Defendant

       7.      Defendant JWB Properties LLC is a Tennessee limited liability company doing

business within this judicial district. Specifically, Defendant JWB Properties LLC owns and

operates two Local Gastropub restaurants in Memphis, Tennessee: (1) Local – Midtown, also

referred to as Local – On The Square, located at 2126 Madison Avenue, Memphis, Tennessee

38104; and Local – Downtown, also referred to as Local – Main Street, located at 95 South Main

Street, Memphis, Tennessee 38103. The registered agent for Defendant JWB Properties LLC is

Jeffrey Johnson who can be served at 95 South Main Street, Suite 106, Memphis, Tennessee

38103-2945.



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        8.     Defendant Jeffrey Johnson owns, operates, manages, and servers as registered

agent for Defendant JWB Properties LLC and the Local Gastropub restaurants at issue in this case.

Defendant Jeffrey Johnson is involved in the daily operations of both Local Gastropub restaurants

and has the authority to hire, fire, discipline, set employment policies, determine the amount and

manner of employee compensation, etc. with respect to the employees at both Local Gastropub

restaurants.

        9.     Defendants employed individuals who are engaged in interstate commerce and/or

in the production of goods for interstate commerce.

        10.    Defendants have at all relevant times been employers within the meaning of the

FLSA.

                                            III. FACTS

        11.    Plaintiff and those he seeks to represent in this action are current and former servers

and bartenders at Defendants’ Local Gastropub restaurants in Memphis, Tennessee.

        12.    Defendants pay Plaintiff and other servers and bartenders at their Local Gastropub

restaurants an hourly wage below $7.25. For example, Defendants paid Plaintiff $2.13 per hour. 1

        13.    In seeking to comply with the FLSA mandate that employees receive a minimum

wage of $7.25 per hour, Defendants purport to utilize a “tip credit” for each hour worked by

Plaintiff and other servers and bartenders at their Local Gastropub restaurants. See 29 U.S.C.

§ 203(m). For example, the “tip credit” for Plaintiff was $5.12 for each hour worked.

        14.    Defendants require Plaintiff and other servers and bartenders to spend well more

than 20% of their time performing non-tip-producing work tasks while being paid the lower tipped




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   For an approximately one-month period after reopening during the Coronavirus pandemic,
Defendants paid Local Gastropub servers and bartenders an amount exceeding $7.25 per hour.
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hourly rate.

          15.   Such non-tip-producing work includes, but is not limited to, cleaning and

degreasing floor and bar mats, washing glasses and dishes, rolling silverware, sweeping, moping,

cleaning the bathroom, scrubbing baseboard, cleaning light fixtures, stocking drinks, cleaning the

ice machine, cleaning tables, cutting fruit, and stocking condiments and other food supplies.

          16.   Defendants also require bartenders to spend significant time each day handling “to

go” orders that are submitted by customers via third-party services, such as Uber Eats and Door

Dash.

          17.   Bartenders are required to retrieve “to go” orders that are submitted electronically

by these services, and then submit them manually through Defendants’ customer ordering system.

          18.   Then, once Defendants’ kitchen has prepared the food that is ordered “to go”

through third-party services, bartenders prepare the order in a takeout container.

          19.   Once the delivery person arrives at Defendants’ restaurant, bartenders are

responsible for providing the order to the delivery person.

          20.   Customers are unable to tip the bartenders for this work, and only the delivery

person (who is not employed by Defendant) receives any customer tip associated with these orders.

          21.   Defendants require Plaintiff and other servers and bartenders to perform these and

other non-tip-producing work tasks at the beginning of their shifts prior to beginning their tip-

producing tasks, throughout their shifts, and at the end of their shifts after finishing their tip-

producing tasks.

          22.   On a routine basis, customers “walk out” of Defendants’ restaurants without

paying.

          23.   Defendants require the tipped employees serving customers who “walk out” to pay



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such customers’ bills using tips received from customers during their shift.

       24.     As a result, Defendants’ tipped employees are required to share their tips with

Defendants.

       25.     Defendants also require Plaintiff and other servers and bartenders to share tips with

non-tipped employees who have no customer interaction. For example, as a bartender, Plaintiff

was required to share tips with barbacks, who are paid more than minimum wage and who do not

interact with customers.

                        IV. COLLECTIVE ACTION ALLEGATIONS

       26.     Plaintiff asserts their FLSA claims pursuant to 29 U.S.C. § 216(b) as a collective

action on behalf of the following individuals:

               All current and former servers and bartenders employed by
               Defendants at their Local Gastropub restaurants at any time since
               August 12, 2017.

       27.     Plaintiff’s claims should proceed as a collective action because Plaintiff and other

servers and bartenders, having worked pursuant to the common policies described herein, are

“similarly situated” as that term is defined in 29 U.S.C. § 216(b) and the associated decisional law.

                                      V. CAUSES OF ACTION

  VIOLATION OF THE MINIMUM AND OVERTIME WAGE REQUIREMENTS OF
                            THE FLSA

       28.     All previous paragraphs are incorporated as though fully set forth herein.

       29.     Plaintiff asserts his claims on behalf of himself and all similarly situated individuals

who opt into this action by filing a consent form, pursuant to 29 U.S.C. § 216(b).

       30.     Plaintiff and similarly situated servers and bartenders are employees of Defendants

entitled to the FLSA’s protections.

       31.     Defendants are employers covered by the FLSA.


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       32.     The FLSA entitles employees to a minimum hourly wage of $7.25 for every hour

worked. 29 U.S.C § 206(a).

       33.     The FLSA requires that covered employees receive overtime compensation “not

less than one and one-half times” their regular rate of pay for hours over 40 in a workweek.

29 U.S.C. § 207.

       34.     While restaurants may utilize a “tip credit” to satisfy their minimum and overtime

wage obligations to tipped employees, they forfeit the right to do so when certain requirements are

not met. See, e.g., 29 U.S.C. §§ 203(m) and 203(t).

       35.     Employers may only take the tip credit for employees in an occupation in which

the employee qualifies as a “tipped employee.” 29 U.S.C. § 203(m). Federal courts interpreting

this statutory language also hold that employers lose their right to utilize a “tip credit” when their

tipped employees—such as Defendants’ servers and bartenders—spend more than 20% of their

shift performing non-tip-producing work.

       36.     By requiring Plaintiff and similarly situated servers and bartenders to spend more

than 20% of their shift performing non-tip-producing work, Defendants forfeit their right to utilize

the “tip credit” in satisfying their minimum wage and overtime obligations to Plaintiff and

similarly situated servers and bartenders.

       37.     Employers, including managers and supervisors, are also prohibited from keeping

any portion of the tips received by their employees for any purpose. 29 U.S.C. § 203(m)(2)(B).

Employers who violate this provision forfeit the tip credit. 29 U.S.C. § 216(b).

       38.     By requiring tipped employees to pay bills that customers fail to pay, Defendants

forfeit their right to utilize the “tip credit” in satisfying their minimum wage and overtime

obligations to Plaintiff and similarly situated servers and bartenders.



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        39.     Employers may only take the tip credit for employees who retain all tips they

receive or share tips as part of a valid tip pool. 29 U.S.C. § 203(m)(2)(A)(ii). Employers forfeit the

tip credit when their tipped employees are required to participate in invalid tip pooling

arrangements.

        40.     By requiring tipped employees to share tips with non-tipped employees who do not

have customer interaction, Defendants forfeit their right to utilize the “tip credit” in satisfying their

minimum wage and overtime obligations to Plaintiff and similarly situated servers and bartenders.

        41.     As such, Defendants have violated the FLSA’s minimum and overtime wage

mandate by paying Plaintiff and similarly situated servers and bartenders an hourly wage below

$7.25 for regular hours worked and below $10.88 for hours over forty (40) in a workweek.

        42.     In violating the FLSA, Defendants have acted willfully and with reckless disregard

of clearly applicable FLSA provisions.

                                    VI. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for the following relief on behalf of herself and all others

similarly situated:

                A.      An order permitting this litigation to proceed as a collective action pursuant

        to 29 U.S.C. § 216(b);

                B.      Prompt notice of this litigation, pursuant to 29 U.S.C. § 216(b), to all

        similarly situated employees;

                C.      A finding that Defendants have violated the FLSA;

                D.      A finding that Defendants’ FLSA violations are willful;

                E.      A judgment against Defendants and in favor of Plaintiff and all similarly

        situated employees for compensation for all unpaid and underpaid wages that Defendants



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     have failed and refused to pay in violation of the FLSA;

            F.      Prejudgment interest to the fullest extent permitted under the law;

            G.      Liquidated damages to the fullest extent permitted under the FLSA;

            H.      Litigation costs, expenses, and Plaintiff’s attorneys’ fees to the fullest extent

     permitted under the FLSA and the Federal Rules of Civil Procedure; and,

            I.      Such other and further relief as this Court deems just and proper in equity

     and under the law.

                                    VII. JURY DEMAND

     Plaintiff demands a jury as to all claims so triable.

Date: August 13, 2020                        Respectfully submitted,

                                             /s/ Joshua A. Frank
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